              Case
               Case7:20-cv-04207-KMK
                    7:19-cv-11029-KMK Document
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   October 19, 2020                                                                                                                                        Bronx
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   VIA FIRST CLASS MAIL                                                                                                                            Newburgh
   Hon. Kenneth M. Karas                                                                                                                      Poughkeepsie
   United States District CoUrt                                                                                                               Spring Valley
   Southern District of New York
   3 00 Quarropas Street
   White. Plains, NY 10601

               RE: Krauss v, Rhinebeck Central School bistrict; 7'.~19'-cv-11029 & 7:20..:cv.:04207 (KMK)

   Dear Hon. Judge Karas::.

               Please let this letter serve as a request for an adjournment of Ure motion practice in the above
   matter.

             The finn that represented the Plaintiff original1y in the state. court proceedings and initial pleadings
   .i n these matters has recently been dissolve.ct. While I have located to the fin;rt Sobo & Sobo, others who
    worked on the Krauss matter have not. 1 anticipate that we will be able to coordinate the representation.for
    Ms. K:rliuss. ~qng the a,ttQrt)eys who worked tin her matter at their. current firms. However, since the
    dissolution was only a few weeks ago,it will take some time for such coordination to take place. We would
    ask the Court for a sixty-day adjournment of all of the scheduled dates. (Motion submission to December
    3d, opposition papers to February 15, ).o.Ji/ ,.Replies by March 15),
                                                '
           Also, I v;.ould note that the· motion scheduled contemplated submissions on both Krauss matters
   identified by the docket numbers above.

          .    I have .consulted with. the Defenaants counset. Maile Rushfield and he,has kindly agreed to such
   an adJo:urnment.

                                                            Granted.

                                                            So Ordered.




   TRD/keh                                                   10/19/20



   c.c.       Mark Rush:field; rnrushfield(al shav.:perlson.com




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